         Case 2:13-cv-05861-JLS-AJW Document 19 Filed 10/02/14 Page 1 of 12 Page ID #:542
                                                                                         ~RIGfNAL
   JOYCE R. BRANDA
     1
   Acting A~ssistant Attorn~ey G~ eneral
 2 STEPHANIE YONEKURA
   Acting United States Attorney
 3 LEON W. WEIDMAN
          Assistant United States Attorney
 4       Chief, Civil Division
         DAVID K. BARRETT
 5       Assistant United States Attorney
         Chief, Civil Fraud Section
 6       SUSAN HERSHMAN
         Assistant United States Attorney
 7       Depu~ty Chief, Civil Fraud Section
         JOHN E. LEE                                                                        y

 8        Assistant United States Attorney
           California State Bar No. 128696
 9               Room 7516, Federal Building
                 300 N. Los Angeles Street                                          FILED
10               Los An eles, California 90012                            CLERK,U.S. DISTRICT COURT
                 Tel:(21~)894-3995
11       ~       Fax: 213)894-2380                                            QCt - 2 2014
                 Emai :john.lee2 usdoj.gov
12         MICHAEL D. GRANS ON
           PATRICIA L. HANOWER                                       cENrRa~ ~Esr~~c o~ cr,~iroRr~ia
                                                                     BY                         DEPUTY
13         DAVID T. COHEN
           Attorneys, Civil Division
14       United States De artment of Justice
               P.O. Box ~61
15             Ben Franklin Station
               Washington, D.C. 20044
16             Telephone: 202)307-0136
               Facsimile: (02)307-3852
17             E-mail: david.t.cohen@usdoj.gov                    ~
                                                                  ' 1 201
         Attorne s for the
18       United States of America                      E'4° ~ ~
                                                        °"'~ ~~" ~'~~~" -,- ..
                                                              ~.
19                                  UNITED STATES DISTRICT COURT
20                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
21                                          WESTERN DIVISION
22       UNITED STATES OF AMERICA ex                    No. CV 13-5861 GHK(AJWx}
         rel.[UNDER SEAL],
23                                                      IN CAMERA MEMORANDUM OF
                    Plaintiffjs],                       P~         AUTHORITIES IN
24                                                      SUPPORT OF STIPULATION
                           v.                           RE VESTING EXTENSION OF SEAL
25                                                      A   UNITED STATES'ELECTION
         [UNDER SEAL],                                  PERIOD;IN CAMERA DECLARATION
26                                                      OF JOHN.L E       PORT
                    Defendant[s].                       THEREOF
2~
                                                                  :D UNDER SEAL PURSUANT TQ
28                                                                 FALSE CLAIMS ACT.31 U.S.C.


                                             ~"^' 1                                                      ~~
                                s            _____~~.: .y
     Case 2:13-cv-05861-JLS-AJW Document 19 Filed 10/02/14 Page 2 of 12 Page ID #:543




      JOYCE R. BRANDA
      Acting A~ssistant Attorne General
 2    STEPHANIE YONEK~
      Actin~gUnited States Attorney
 3    LEON W. WEIDMAN
      Assistant United States Attorney
 4    Chief, Civil Division
      DAVID K. BARRETT
 5    Assistant United States Attorney
      Chief, Civil Fraud Section
 6    SUSAN HERSHMAN
      Assistant United States Attorney
 7    Deput~ Chief, Civil Fraud Section
      JOHN E. LEE
 8    Assistant United States Attorney
      California State Bar No. 128696
 9          Room 7516, Federal Building
            300 N. Los An eles Street
10          Los Angeles, California 90012
            Tel:(213)894-3995
11          Fax:(213)894-2380
            Email: john.lee2 usdoj.gov
12    MICHAEL D. GRANS ON
      PATRICIA L. HANOWER
13    DAVID T. COHEN
      Attorneys, Civil Division
14    United States Department of Justice
            P.O. Box Z61
15          Ben Franklin Station
            Washington, D.C. 20044
16          Telephone: (202)307-0136
            Facsimile: (202)307-3852
17          E-mail: david.t.cohen@usdoj.gov
      Attorneys for the
18    United States of America
19                              UNITED STATES DISTRICT COURT
20                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
21                                   WESTERN DIVISION
22    UNITED STATES OF AMERICA ex              No. CV 13-5861 GHK(AJWx)
      rel.[UNDER SEAL],
23                                             IN CAMERA MEMORANDUM OF
                 Plaintiffs],                  ~d T        AUTHORITIES IN
24                                             SUPPORT OF STIPULATION
                       v.                      REQUESTING EXTENSION OF SEAL
25                                             AND UNITED STATES' ELECTION
      [UNDER SEAL],                            PERIOD;IN CAMERA DECLARATION
26                                             OF JOHN E. L E   UPPORT
                                               THEREOF
27                                   ~]
                                               rFILED UNDER SEAL PURSUANT TQ
28                                             THE FALSE CLAIMS ACT.31 U.S.C.
                                ~"
                                 'r u .~

                        ~r                ~. ~~
     Case 2:13-cv-05861-JLS-AJW Document 19 Filed 10/02/14 Page 3 of 12 Page ID #:544




 1                                             §§ 3730(b)(2) AND (3)]
 2                                              FILED/LODGED CONCURRENTLY
                                                   ER SEAL: 1 STIPULATION
 3                                             REQUESTING     TENSION OF SEAL
                                               AND UNITED STATES'ELECTION
 4                                             PERIOD;(2)~PROPOSED] ORDER
                                               EXTENDIN SEAL AND UNITED
 5                                             STATES'ELECTION PERIODI
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     Case 2:13-cv-05861-JLS-AJW Document 19 Filed 10/02/14 Page 4 of 12 Page ID #:545




      JOYCE R. BRANDA
      Acting Assistant Attorney G~ eneral
      STEPHANIE YONEKURA
      Acting United States Attorney
      LEON W. WEIDMAN
      Assistant United States Attorney
      Chief, Civil Division
      DAVID K. BARRETT
      Assistant United States Attorney
      Chief, Civil Fraud Section
      SUSAN HERSHMAN
      Assistant United States Attorney
      Deputy Chief, Civil Fraud Section
      JOHN E. LEE
      Assistant United States Attorney
      California State Bar No. 128696
            Room 7516, Federal Building
            300 N. Los Angeles Street
10          Los Angeles, California 90012
            Tel:(213)$94-3995
11          Fax:(213)894-2380
            Email:john.lee2 usdoj.gov
12    MICHAEL D. GRANS ON
      PATRICIA L. HANOWER
13    DAVID T. COHEN
      Attorneys, Civil Division
14    United States Department of Justice
            P.O. Box 261
15          Ben Franklin Station
            Washington, D.C. 20044
16          Telephone: 202)307-0136
            Facsimile: (02)307-3852
17          E-mail: david.t.cohen@usdoj.gov
      Attorneys for the
18    United States of America
19                            UNITED STATES DISTRICT COURT
20                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
21                                  WESTERN DIVISION
22    UNITED STATES OF AMERICA ex              No. CV 13-5861 GHK(AJWx)
      rel. MARIA GUZMAN,
23                                             IN CAMERA MEMORANDUM OF
                 Plaintiff,                    ~P          AUTHORITIES IN
24                                             SUPPORT OF STIPULATION
                        v.                     RE VESTING EXTENSION OF SEAL
25                                             A    UNITED STATES' ELECTION
      INSYS THERAPEUTICS,INC.,                 PERIOD;IN CAMERA DECLARATION
26                                             OF JOHN E. LEE IN   PORT
                 Defendant,                    THEREOF
27
                                               rFILED UNDER SEAL PURSUANT TO
28                                             THE FALSE CLAIMS ACT.31 U.S.C.
     Case 2:13-cv-05861-JLS-AJW Document 19 Filed 10/02/14 Page 5 of 12 Page ID #:546




 1                                             §§ 3730(b)(2) AND (3)]
 2                                              FILED/LODGED CONCURRENTLY
                                                   ER SEAL: 1 STIPULATION
 3                                             REQUESTING     TENSION OF SEAL
                                               AND UNITED STATES' ELECTION
 4                                             PERIOD; 2 [PROPOSED]ORDER
                                               EXTENDING SEAL AND UNITED
 5                                             STATES'ELECTION PERIODI
6
 7
 8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     Case 2:13-cv-05861-JLS-AJW Document 19 Filed 10/02/14 Page 6 of 12 Page ID #:547




 1    I.    INTRODUCTION
 2          This action is brought under the ~tam provisions ofthe False Claims Act
 3 ("FCA"), 31 U.S.C. §§ 3729-3733. The defendant is INSYS Therapeutics, Inc.
 4 ("INSYS"). The ~c ui tam plaintiff("the Relator") is Maria Guzman. Pursuant to the
 5    FCA,31 U.S.C. § 3730(b)(3), and the Stipulation filed concurrently herewith, the United
6     States of America("United States" or "government")respectfully requests that the Court
 7    grant it an additional six months, to and including April 13, 2015, within which to elect
 8    whether to intervene in the above-captioned action ("this action"). The United States
9     also requests that the Complaint and all other documents filed or lodged in this action
10    remain under seal for the same period, pursuant to 31 U.S.C. §§ 3730(b)(2) and (3).
11    II.   PROCEDURAL SUMMARY AND RELATOR'S ALLEGATIONS
12          The Relator filed the Complaint in this action on August 12, 2013, under seal as
13    required by the FCA.
14          INSYS is alleged to be a specialty pharmaceutical company headquartered in
15    Chandler, Arizona. INSYS allegedly markets SUBSYS,a powerful fentanyl sublingual
16    spray approved by the Food and Drug Administration("FDA")to treat breakthrough
17    cancer pain in opioid tolerant patients. INSYS allegedly also markets Dronabinol SG
18    Capsule and is awaiting FDA approval for Dronabinol Oral Solution.
19          The Relator alleges that INSYS instituted akickback-fueled off-label marketing
20    campaign to induce doctors to prescribe SUBSYS far beyond its stated indication and its
21    beginning dosage of 100 micrograms. The Relator alleges that INSYS improperly
22    encouraged doctors to quickly titrate patients to higher than appropriate SUBSYS dosage
23    levels. The Relator also alleges that INSYS used a mail order pharmacy to send
24    SUBSYS to patients who had not requested the drug and that the pharmacy did not
25    properly instruct patients on the proper storage of SUBSYS.
26          The Relator further alleges that INSYS instituted programs throughout the country
27    in order improperly to induce doctors to prescribe SUBSYS, providing them with
28    speaker's fees and other monetary payments, trips to strip clubs and shooting ranges,
                                                  1
     Case 2:13-cv-05861-JLS-AJW Document 19 Filed 10/02/14 Page 7 of 12 Page ID #:548




 1     stock options,jobs for their significant others, expensive meals, and other benefits, in
 2     violation of federal anti-kickback laws.
 3            The Relator alleges that, by its conduct, INSYS violated 31 U.S.C. §§ 3729(a)(1),

 4 1~ 42 U.S.C. § 1320a-7b, 21 U.S.C. §§ 331(a) and 360aaa, among other provisions.
 5     III.   THERE IS GOOD CAUSE TO EXTEND THE INTERVENTION
 6            DEADLINE AND SEAL PERIOD
 7            The dui tam provisions of the FCA provide in pertinent part that:
 8            (2)   ...The complaint shall be filed in camera, shall remain under seal
 9            for at least 60 days, and shall not be served on the defendant until the court
10            so orders. The Government may elect to intervene and proceed with the
11            action within 60 days after it receives both the complaint and the material
12            evidence and information.
13            (3)   The Government mav, for food cause shown, move the court for
14            extensions of the time during which the complaint remains under seal under
15            paragraph (2).
16    31 U.S.C. §§ 3730(b)(2) and (3)(emphasis added).
17            The Fourth Circuit has noted that the initia160-day seal period is designed to
18    enable the government to "investigate the private qui tam relator's allegations and
19     determine whether they present adequate grounds for the government to proceed with the
20    case, and, if adequate grounds exist, to determine whether it is in the government's
21     interest to prosecute the case." United States ex rel. Siller v. Becton Dickinson & Co.,
22    21 F.3d 1339, 1343 n.3 (4th Cir. 1994). The court also noted that, "[a]s Congress
23    recognized, these tasks could very well take more than 60 days." Id. As set forth in the
24     accompanying declaration, good cause exists to extend the intervention election period.
25    See attached In Camera Declaration of John E. Lee("Lee Decl."), ¶ 3.
26            The United States also requests that the Complaint and all other documents filed
27    or lodged in this action remain under seal pursuant to 31 U.S.C. §§ 3730(b)(2) and (3), to
28    allow the United States an adequate opportunity to evaluate fully the private enforcement
                                                    2
     Case 2:13-cv-05861-JLS-AJW Document 19 Filed 10/02/14 Page 8 of 12 Page ID #:549




 1     Dated: September~i~2014       Respectfully submitted,
 2                                   STEPHANIE YONEKURA
                                     Actin_g United States Attorney
 3                                   LEON W. WEIDMAN
                                     Chief, Civil Division
 4                                   DAVID K. BARRETT
                                     Chief, Civil Fraud Section
 5                                   SUSAN HERSHMAN
                                     Deputy Chief, Civil Fraud Section
 6
                                     MICHAEL D. GRANSTON
 7                                   PATRICIA L. HANOWER
                                     DAVID T. COHEN
 8                                   Attorneys, Civil Division
                                     United States Department of Justice
 9
10
11                                   JOHN E. LEE
                                     Assistant United States Attorneys
12
                                     Attorneys for the
13                                   United States of America
14
15
16
17
18
19
20
21
~x~
~
'
24
25
26
27
28
     Case 2:13-cv-05861-JLS-AJW Document 19 Filed 10/02/14 Page 9 of 12 Page ID #:550




 1     suit and to determine whether it is in the United States' interest to intervene in the
 2    relator's gui tam action. As recognized in United States ex rel. Lujan v. Hughes Aircraft
 3    Co., 67 F.3d 242, 245 (9th Cir. 1995)(citation omitted), the government should be
 4    allowed "an adequate opportunity to fully evaluate the private enforcement suit and
 5    determine both ifthat suit involves matters the Government is already investigating and
 6     whether it is in the Government's interest to intervene and take over the civil action."
 7    Maintaining the seal is important because it allows "the qui tam relator to start the
 8 judicial wheels in motion and protect his litigative rights, while allowing the government
 9    the opportunity to study and evaluate the relator's information for possible intervention
10    in the qui tam action or in relation to an overlapping criminal investigation." Id. As set
11    forth in the Lee Decl., ¶ 4, maintaining the seal is important in the present case.
12    IV.    CONCLUSION
13           For the foregoing reasons, the United States respectfully requests that the Court
14    approve the Stipulation filed herewith and grant the United States asix-month extension
15    oftime, to and including April 13, 2015, to determine whether to intervene in this action,
16    during which time the Complaint and all other documents filed or lodged in this action
17    would remain under seal. The Relator has joined in requesting the proposed extension.
18
19
20
21
22
23
24
25
26
27
28
                                                    3
     Case 2:13-cv-05861-JLS-AJW Document 19 Filed 10/02/14 Page 10 of 12 Page ID #:551




 1                       IN CAMERA DECLARATION OF JOHN E. LEE
 2           I, John E. Lee, declare:
 3           1.     I am the Assistant United States Attorney who, along with Department of
 4     Justice Trial Attorney David T. Cohen, has been assigned responsibility for handling this
 5     action. This declaration is offered in support of the United States' request fora six-
 6     month extension of the seal and election period, to and including April 13, 2015. The
 7     Relator has joined in requesting the proposed extension.
 8           2.      Since the filing ofthe last extension request on Apri13, 2014, the United
9      States has, among other things, undertaken the following investigative activities in this
10     action:
11                  a.    In April, May, June, July, August, and September 2014, we received
12     INSYS Therapeutics Inc.'s("INSYS")Third, Fourth, Fifth, Sixth, Seventh, Eighth, and
13     Ninth productions of documents in response to an Inspector General subpoena that we
14     served on INSYS. These productions consist of more than 40,000 documents. In April,
15     May, June, July, August, and September 2014, we held telephonic conferences with
16     INSYS's counsel, John Bentivoglio, Jennifer Bragg, and Maya Florence of Skadden,
17     Arps, Slate, Meagher &Flom,LLP ("Skadden"), in Washington, D.C., regarding various
18     production-related issues.
19                  b.    In April 2014, we received documents from counsel for five
20     individual INSYS employees on whom we also served Inspector General subpoenas. In
21     May 2014, we held telephonic conferences with their counsel, Anthony Pacheco and
22     Rebecca Barnhardt of Jeffer, Mangels, Butler &Mitchell, LLP ("Jeffer Mangels"),
23     regarding various issues in this action.
24                  c.    In April 2014, we interviewed a current INSYS employee in the
25     presence of his counsel, Mr. Pacheco. We also requested, obtained, and reviewed further
26     information regarding this action from the Relator.
27                  d.    In May, June, and September 2014, we held telephonic conferences
28     with two assistant United States attorneys in the United States Attorney's Office for the
                                                   5
     Case 2:13-cv-05861-JLS-AJW Document 19 Filed 10/02/14 Page 11 of 12 Page ID #:552




 1 ~ District of Massachusetts("Boston USAO"), who were working on a related criminal
 2     investigation and a second gui tam investigation filed in that district against INSYS.
 3                    e.    In May 2014, the Health and Human Services, Office ofInspector
 4     General, case agent and I traveled to Colorado and interviewed several witnesses and
 5     conducted further investigation regarding this action.
6                     f.    In June 2014, we interviewed another current INSYS employee in the
 7     presence of his counsel, Mr. Pacheco.
 8                    g.    In July 2014, we interviewed a third qui tam plaintiff who had filed a
9      False Claims Act action against INSYS in this district. We also interviewed three former
10     employees ofINSYS.
11                    h.    In August and September 2014, we reviewed subpoenaed documents
12     and continued discussions with counsel for Skadden and the Boston USAO regarding
13     this action.
14           3.       The United States needs additional time to conduct its investigation. In
15     particular, additional time is needed to undertake the following investigative tasks:
16                    a.    We need to obtain relevant documents from INSYS. At this time,
17     counsel for Skadden have advised that they anticipate making their Tenth and Eleventh
18     productions upon completion oftheir review. Following these productions, Skadden
19     counsel anticipate producing certain manually-reviewed documents. Thereafter,
20     Skadden counsel are anticipated to apply search terms, which are currently in the process
21     of being negotiated, to additional categories of documents to be produced by them.
22                    b.    We also need to obtain additional relevant documents from Jeffer
23     Mangels relating to the five individual subpoena recipients. Although Jeffer Mangels
24     has to date produced certain narrow categories of documents, many other categories of
25     documents remain to be produced by them.
26                    c.    We also need to interview various witnesses in this action, many of
27     whom appear to reside in numerous different states across the country. At this time, we
28     anticipate interviewing some of these witnesses before we have received and reviewed
                                                     D
     Case 2:13-cv-05861-JLS-AJW Document 19 Filed 10/02/14 Page 12 of 12 Page ID #:553




 1     much of the documents that we have requested pursuant to the Inspector General
 2     subpoenas. However, for the majority of witnesses, we anticipate that the interviews
 3     will need to be conducted after we have received and reviewed the bulk of the
 4     documents that we have requested in this action.
 5           4.     I believe that six months is the minimum time required to complete these
 6     tasks. During this period, maintaining the seal over this action is important to avoid
 7     improper dissemination of confidential information. If more than six months are
 8     ultimately required, the United States will report to the Court toward the end of the
 9     requested extension period regarding the status of the investigation.
10           S.     For the foregoing reasons, the United States respectfully requests that the
11     Court grant asix-month extension ofthe United States' deadline regarding intervention,
12     and the same extension of the seal period, to and including April 13, 2015.
13           6.     The foregoing is based both on my personal knowledge and on information
14     I obtained from case agents ofthe Department of Health and Human Services, Office of
15     Inspector General, and Department of Defense, Defense Criminal Investigative Service,
16     as well as other government officials and sources.
17           I declare under penalty of perjury that the foregoing is true and correct.
18           Executed on September 2014, at Los Angeles, California.
19
20
                                                     JOHN .LEE
21
22
23
24
25
26
27
28
                                                   7
